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05-44481-rdd   Doc 7965-8   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-8   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                            A Part 2b of Aff Pg 3 of 23
05-44481-rdd   Doc 7965-8   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                            A Part 2b of Aff Pg 4 of 23
05-44481-rdd   Doc 7965-8   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-8   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-8   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-8   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-8   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-8    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-8    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-8    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-8    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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